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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNI~t_C
                                                              12 NOV ~2 PH 12: 42
UNITED STATES OF AMERICA,

                       Plaintiff,
                                                          nN()                DEPUT
                vs.                          JUDGMENT O!l'VDISMISSAL
JOEL REYES (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

-X-   an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty:

-X-   of the offense as charged in the Information:

      TITLE 21 U.S.C. §952 AND 960; TITLE 18 U.S.C. §2.



           IT IS THEREFORE ADJUDGED that the de                    is hereby discharged.


 DATED: OCTOBER 29, 2012

                                             U.S. District
